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                                                                                     Exhibit T
                             18CV50 Mesa District Civil Court

                                           EXHIBIT LIST


  filed June 25, 2018

  Exhibit A – Notice of Written Correspondence dated April 18, 2018

  Exhibit B – Certificate of Service dated April 18, 2018

  Exhibit C – Courtesy Notice stop and Desist Use of Intellectual property and Copyrighted
              Materials with Intent to Litigate – AMENDED dated May 16, 2018

  Exhibit D – Notice of Fault in Dishonor (Opportunity to Cure) dated May 16, 2018

  Exhibit E – Notice of Fault In Dishonor dates June 4, 2018

  Exhibit F – Relief Sought - Section 1, page 4 of 48, Pre-Litigation Affidavit Complaint (PLAC)

  Exhibit G – Sample (3 pages) from in PLAC – Derivative works and Wilcock involvement

  Exhibit H – Sample (5 pages) PLAC – Dream Vision foreseeing

  Exhibit I – Yanaros Law communication – not certified/frivolous dated June 5, 2018

  Exhibit J – Certificate of Service to Yanaros - Failure to lawfully respond dated June 11, 2018

  Exhibit K - Fines and Fees dated May 16, 2018



  filed July 3, 2018

  EXHBIT - Boulder County Sheriff’s Office Return of Unserved Civil Process Sheriff’s Case
           Number: C-18001458 dated June 27, 2018

  EXHIBIT – CC: Court Complaint served on CG and VYW via USPS dated July 3, 2018


  filed August 13, 2018

  Exhibit L – Grievance to Texas State Bar against Yanaros dated August 10, 2018

            -   List of Emails VYW and Ms. Montalbano June 5, 2018 to August 6, 2018
            -   USPS Certified Mailing docs to CG dated August 13, 2018

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  filed August 30, 2018

  Exhibit M – PLAC (49 pages) dated May 16, 2018

  Exhibit O – Federal Court 1st Motion for Remand (copy for state court)



  filed September 11, 2018

  Exhibit P – USPS Certified Mail Receipts and USPS tracking of PLAC to: Corey Goode,
              Jay Weidner, Jirka Rysavy all delivered to GAIA INC address dated April 18, 2018

  Exhibit Q – Case Order reassigning Federal case to Raymond P. Moore and Federal Court
              docket through docket 31 09/07/2018 with Docket 30 Fabricated Register of Actions
              highlighted

           -   USPS certified mail receipt dated September 11, 2018
           -   Federal Court Document 79 Order Remand granted dated December 3, 2018



  filed November 13, 2018

  EXHIBIT – Presumptive Pre-Litigation Affidavit Complaint and Negotiable Instruments (PLAC)
            (77 pages) as filed with Mesa CLERK AND RECORDER reception #2843230 dated
            June 7, 2018



  filed December 11, 2018

  EXHIBIT – Amended Grievance against Ms. Wilde dated December 5, 2018 (51 pages)

           -   Broomfield Register of actions 07/17/2018 to 08/06/2018 Case 18C103 Closed
           -   Exhibit A Order Denying CG motion for second continuance by Magistrate Russell
               dated August 6, 2018
           -   Exhibit B – CG Motion for Permanent Restraining Order Denied
           -   Exhibit C – Darling v Goode, Dallas County, Texas, District Court, PO Cause No
               14-04807 dated October 31, 2014
           -   Exhibit D – VYW Assault Charges Arlington Police Department
               Incident 2018-01990029
           -   Exhibit E – Order Closing Mesa Case dated November 27, 2018
           -   Exhibit F – Fabricated Register Action by VYW for Federal Court Docket 30 and
               the filing




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           -   Exhibit G – Misleading Document – No Court Stamp – CG/VYWs “Reply to
               Plaintiff’s Response to Mr. Goode’s Motion to Dismiss for Failure to state a
               Complaint” AND my Objection to it
           -   Exhibit H – Fake Complaint filed on Federal Court record by VYW (crossed out)
               and ACM November 13, 2018 amended version
           -   Exhibit J – Notice of Service failures on Federal Court Record at Docket 41 by
               ACM to notice VYW to serve papers filed
           -   Exhibit K- Order Remand granted from Denver Federal Court back to Mesa State
               Court

  EXHIBIT – CIA Russel Targ Remote Viewing program on CIA website www.cia.gov



  EXHIBITs Motion to Impose Sanctions

           -   Broomfield Register of Action Case 18C103 closed
           -   June 16, 2018 Failed 1st Stalking case email from VYW to ACM
           -   July 23, 2018 Email Notice only from VYW of Hearing July 24, 2018
           -   July 27, 2018 VYW Threatens Violation of PO due to mailing Mr. Goode Copies of
               court filings
           -   Federal Court Register of Actions- Docket 30 VYW concocted Register of Actions
           -   Fake Complaint on Federal Court Record by VYW at Docket 26 filed
               August 13, 2018 (not crossed out)
           -   November 13, 2018 email from VYW to ACM about Motion for “No Contact” to
               keep Ms. Montalbano from serving court papers on pro-se litigant CG
           -   Notice from ACM about Service Failures by VYW Federal Court Record Docket 41
               filed September 17, 2018



  filed December 27, 2018

  EXHIBIT – Broomfield Case 18C103 CG Verified Complaint dated July 17, 2018 (4 pages)

           -   perjury does not check box that CG has a stalking protection order
           -   lied about phone calls
           -   denied knowledge of lawsuit opened against him
           -   admits 400 emails


  filed January 30, 2019

  Exhibit R – FULL Federal Court Register of Actions 1:18-cv-02060-RM-GPG dockets 1 to 80
              Case Remand

  Exhibit S – Federal Court ACM filed Opposed Motion for Remand Docket 62 filed 10/26/18


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  Exhibit T – Federal Court ACM filed Objection to Recommendation Regarding Motion to Dismiss
              Docket 63 filed 10/28/18

  Exhibit U – Image Corey Goode and his BLUEBIRD alien friend

  Exhibit V – YouTube channel AlphaZebra - Bill Ryan states CG plagiarized Mars Records 20
              and back story belonging to Michael and Stephanie Relfe and they say it to

  Exhibit W – David Wilcock Amazon “Awakening in the Dream” book then planned release Aug
             20, 2019

  Exhibit X – COPYRIGHTS Alyssa Montalbano (Ari Stone)“ Dreams the Missing Text” and
              “DreamWalker Dream Diary Adventures of Enetka Tulina”



  filed February 4, 2019

  Exhibit Y – Photo of Plainitff

  Exhibit Z – Darling V Goode Petition for Restraining Order, Cause No. 14-04807 dated
              5/5/2014 full record filing – YouTube Transcription CG at page 5 line 8-11 Traumatic
              Brain Injury, epilepsy, complex PTSD not combat related; page 8 at lines 5-6 eye
              retinal detachment surgery



  filed February 15, 2019 (Public Harssment of people exposing Mr. Goode’s Fraud)

  Exhibit AA – Gang Stalking defined – www.UrbanDictionary.com

  Exhibit AB – CG Facebook post sample organized stalker communication - alleging sparse
               communications (no Dream Visions sent for a while from ACM to CG) – alleged
               bomb (similar to a DV of Plaintiffs) – Above Majestic film promoting -

  Exhibit AC – Harassing and Doxxing people in the public

                 - CW Chanter (Benjamin Zavodnick) being doxxed and harassed by CG
                 associates for publicly exposing CGs fraud

                 - Organa Alderaan doxxing and harassing Twitter sock account – screenshot of
                 Dark Journalist harassment by Organa Alderaan dated October 24, 2018

                 - Joy Jackson associated harasser of people in the community

  Exhibit AD - Dark Journalist, JoeFromTheCarolinas slander meme by CG and associates

  Exhibit AE - Jason Rice (alleged Secret Space Program Whistleblower) Twitter post showing
               he received Legal threat letter from Valerie Yanaros Wilde and Corey Goode


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  Exhibit AF – UniRock says CG has secret troll doxxing group and implicates Jordan Sather
               (Public Figure for alternative YouTube news reporting)

           -   Screenshot Jordan Sather doxxing Joe From the Carolinas with ThomasCrown
               Tweet dated November 6, 2018

           -   Screenshot Thomas Crown Twitter account original dox of Joe From The
               Carolinas (Joseph Paciarelli) dated November 6, 2018

  Exhibit AG – “YouTube Ex Gang Stalking Operative Explaints Tactics and Motives_mirrored”
                posted to Jikonf channel (information video)

           -   Same YT video above posted to aplanetruth.info January 13, 2019 – write up
               below sites A.I. mind control and alludes to the Department Of Defense (DOD)
               Sentient World Simulations

           -   Voice to Skull Patent US Patent 5159703 – Frequencies used to broadcast
               and piggy back onto carrier waves to broadcast to a brain directly

           -   MKULTRA and Project Artichoke



  February 19, 2019

  Exhibit AH – Public Harassment via Twitter by CG of Benjamin (C.W. Chanter) claiming he’s
               Dark Alliance – Gloria111 states he’s (CG) the same bully as always (former
               classmate of Mr. Goode’s in High School)

  Exhibit AI – Dream Vision sample dated Feb 14, 2019 ACM documents CG gang stalker post
               for ACM to see



  filed February 27, 2019

  Exhibit AJ – PLAC (again) 77pages

  Exhibit AK – CIA project Bluebird CIA-RDP83-01042R000800010003-1 (full record filed)



  filed March 25, 2019 (Defamation Per Se)

  Exhibit AL – CG associate uses ACM art on Shaman at Eclipse of Disclosure Event-
               Facebook post by Plaintiff dated March 15, 2019 (8 pages)

  Exhibit AM – Corey Goode Facebook stalker slander post July 17, 2018 (same date he
  opened case 18C103, Broomfield Combined Court

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  Exhibit AN – email to VYW dated October 17, 2018 attaching Dream Visions occurred
  during the course of litigation for negotiation (4 pages)

  Exhibit AO – Reddit defamation hate slander campaign - SBAGoode slanders about
               marriage dream (3 pages)

  Exhibit AP – Chuck Raymond Facebook hate slander campaign – creepy clown and
               Corey Goode threats and defamation of Plaintiff as “Dark Alliance” and cites
               his slander of Plaintiff on Edge of Wonder channel



  filed August 2, 2019

  Exhibit AQ – Broomfield Combined Court fabrications (again) dated July 17, 2018

  Exhibit AR – Defamation CG to Kiersten Medvedich (Gaia TV contact) about ACM being a
               stalker Federal Court docket 34-5 filed 09/10/18 (2 pages)

  Exhibit AS – Defamation - CG Facebook Stalker dated July 17, 2018

  Exhibit AT – CG/VYW filed Fake Complaint Federal Court USPS from ACM to CG dated
               June 4, 2018 – Certificate of Service Notice of Default in Dishonor dated
               June 4, 2018 – plus cover letter – Notice of Default in Dishonor dated June 4, 2018
               with sticky note – Federal Court Register of Actions Dockets 1 to 42

  Exhibit AU – Defamation – Reddit slander by SBAGoode then another saying Crazy –
               screenshot March 20, 2019 post 120days old. (2 pages)

  Exhibit AV – ACM Facebook post showing CG associate using Energetic Portal Design at
               Eclipse of Disclosure August 2017 (3 pages)

  Exhibit AW – Defamation – Facebook Chuck Raymond hate campaign – creepy clown then CG
                     defamation post of ACM being “Dark Alliance”

  Exhibit AX – “Dark Alliance” label = death threat revealed (2pgs)

  Exhibit AY – Defamation Twitter hate campaigns by CG and associates against ACM
               June 2019 to July 2019



  filed Sept 9, 2019

  Exhibit AZ – Defamation Twitter hate campaign by CG again bringing up marriage dream and
               calling ACM crazy – delusional




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  filed February 12, 2020 Affidavit & Tangible Dream Vision (DV) Trade Secret Evidence



  Exhibit BA – Judge Flynn’s Oath of Office taken twice Certified Copies



  Exhibit BB SAMPLE DVs – 22 Dream Vision Samples

          (1)   Changing Kings Heart with Love - dated 06.14.2016
          (2)   What to do if King still in Charge - dated 02.12.2018
          (3)   Private Jet Stalls and Falls JF Pilot – Natalie Girlfriend – dated 05.06.2019
          (4)   Court Orders Notch in Wall – dated 05.14.2019
          (5)   Ranger John & Giant Bear Man – dated 01.05.2019
          (6)   Judge Flynn Reading off Orders – lasers – dated 05.24.2019
          (7)   Contract Trickery Foiled – dated 10.09.2017
          (8)   Class Trip to Spain – dated 12.03.2013
          (9)   3 Idiots – dated 10.21.2014
         (10)   Manifesting Rainbow Spheres, Mafia Guy CIA Guy Guns – dated 07.09.2017
         (11)   Corey FB Sander Post To Emo-Razz: Seriously – dated 06.08.2018
         (12)   Email to VYW to negotiate with 8 DVs attached to negotiate to incl:
                Homerun With Broomstick Wins the Game! – dated 06.20.2018
         (13)   Valentine Document Served, I sign in Crayon – dated 07.20.2018
                (13a) Legend of the Bear Love, Interporganate – dated 06.07.2013
                (13b) Garage Hacker Kids Fail to Steal my Car – dated 12.14.2018
                (13c) Halloween Scare House – dated 06.05.2018
         (14)   Email to CG with Creepy Clown Game attached – sent 01.05.2019
                Creepy Clown Game – dated 11.22.2018
         (15)   Grumbly Bickery Guy & Purple Venom Snake – dated 03.09.2019
                (15a) email to CG asking about Facebook Creepy Clown defamation campaign –
                sent 03.22.2019 & CG Facebook Hate Campaign screenshots with creepy clown

         (16)   Spark Plan Foiled – dated 01.01.2017
         (17)   Fiberoptic Plants – 2 snakes – Shapeshifting Bear – dated 10.27.2019
                (17a) CG YouTube slander post and threatening trust funds posted 11.20.2019

         (18)   Off Energy CG Trust Funds – dated 03.18.2019
         (19)   Overcoming Prior Agenda with Love – dated 06.08.2010




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  filed February 21, 2020

  Fifth Information for the Court CIA Evidence – Senate Hearing, CIA Records, Remote Viewing,
  Remote Influencing, Dream States & Psychokinesis Research – as Compared to Defendant
  Public Claims and Plaintiff Dream Experiences Submitted for Legal Investigation Purposes



  EXHIBIT BB - DV SAMPLE 20 – DV K’s barf gets on my toes (print only)

  EXHIBIT BC – Senate Hearing MKULTRA (1977) (on Disc)

  EXHIBIT BD – DoD Psychoenergetics - CIA-RDP96-00792R000600310001-7 (on Disc)
               DoD PSYCHOENERGETICS PROGRAM: REPLICATION STUDIES (S) (1984)
               RA – Remote Action, UC Davis, PK experiments list

  EXHIBIT BE – Telepathic Behavior Modification - CIA-RDP96-00792R000600320004-3
               (on Disc) SECTION IV – TELEPATHIC BEHAVIOR MODIFICATION (1975)
                sleep-wake states used for literal ‘Consciousness Obliteration.’

  EXHIBIT BF – Patents Hendricus Loos - United States Patents (print only)

           -    US6506148B2 - Nervous System Manipulation by Electromagnetic Fields from
                Monitors (2001)

           -    US6017302A – Subliminal Acoustic Manipulation of Nervous Systems – aka V2K
                (1997) Google Patents List Hendricus Loos

  EXHIBIT BG – Neurophysiological Correlates to RV - CIA-RDP96-00789R002200320001-2
               (on Disc) NEUROLOGICAL CORRELATES TO REMOTE VIEWING (U) (1988)
               Epilepsy / Dementia/ SQUID-MEG/MRI

  EXHIBIT BH –TMS – Depression Brain Disease - TMS Therapy at Wellington Retreat
              (print only) Images Brain No Depression vs Depression, electromagnetic
               frequencies to heal brain activity

  EXHIBIT BI – AC Lucid Dreams - CIA-RDP96-00789R003100140001-2 (on Disc)
               Anomalous Cognition in Lucid Dreams (1991) 2-4Hz Theta Delta and 10Hz Alpha

  EXHIBIT BJ – Psychic Warfare - CIA-RDP96-00789R001001420001-3 (on Disc)
               PSYCHIC WARFARE: EXPLORING THE MIND FRONTIER (1988)

  EXHIBIT BK – Memorandum Psywar - LOC-HAK452-1-2-6 (on Disc) Memorandum For:
               General Haig - Subject: Psywar (September 4, 1972)

  EXHIBIT BL – PK Switch - CIA-RDP96-00788R002000230002-4 (on Disc)
              DEVELOPMENT OF A REMOTE PK SWITCH (U) - GRILL FLAME



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  EXHIBIT BM – Controlled Offensive Behavior USSR - CIA-RDP96-00792R000500730002-1
               (on Disc) CONTROLLED OFFENSIVE BEHAVIOR USSR (U) – Section III –
              TELEPATHY (ENERGETIC TRANSFER) IN MAN (September 1975)
               Psychotronic Generators; Full human control is goal

  EXHIBIT BN – CG Alleged Mega Update - Corey Goode alleged Jan 12, 2018 Mega Update
               (print only)

  EXHIBIT BO – CG SSP Interrogation - Corey Goode SBA website prints (print only) 1of2 Dream
               Communications 2of2 Psychic Wars with Corey Goode – SSP – Intruder
               Intercept Interrogation Program

  EXHIBIT BP – CG V Darling DC-14-04807 - Corey Goode v Darling International, DC-14-04807,
               (on Disc) District Court Dallas County – Health Claims & Stalking PO issued
               against CG (October 31, 2014) (print only)

  EXHIBIT BQ – CG CD S7E28 Dementia Aphasia Neurological Issues - Corey Goode Cosmic
               Disclosure S7E28 (00:10:50 – 00:12:00) (on Disc) Dementia – Aphasia - ‘SSP’
                High Electromagnetic Fields – Neurological Damage
               (Clip time stamps 0:00:50 to 0:01:45; screen captured from GAIA TV website)

  EXHIBIT BR – CG DW CDS7E4 Dreams Telepathy Remote Viewing - Corey Goode Cosmic
               Disclosure S7E4 (00:00:11 -00:04:07) (on Disc) David Wilcock dream recall
                research since 1992, and Remote Viewing 1996 telepathic communications
               (Clip time stamps 0:01:40 to 0:02:15; screen captured from GAIA TV website)

  EXHIBIT BS – CG Interrogations and IE - YouTube video titled #10: Exclusive Never Before
               Revealed info About the Moon W/ Corey Goode (1/2)”on Ninety Degree Turns
               channel, posted July 25, 2019 (00:09:49 – 00:24:33) Dark Interrogations –
               humans as food for ‘aliens’ – amoral scientists using electrical and biological tech
               (on Disc) 13:30 to 18:00 Corey Goode in ‘SSP’ since about 17 yrs old - memory
               issues – dark Interrogations – torture – loaned out CG to other government
               sectors due to him being talented Intuitive Empath – Remote View Killing with
               enhanced technologies and hit lists he had to do. 19:00 to 24:00 Slave trade
               human trafficking for sex, intelligence, and ‘alien’ food, Interrogation, amoral
               scientists using electrical and biological technology for experiments.



  EXHIBIT BT – CG AI Bioneural Fields - YouTube video titled: “Corey Goode on AI and
               Ascension – SBA Presents Ninety Degree Turns” on Mr. Goode’s YT channel,
               SphereBeing Alliance, posted October 14, 2019 (00:05:22 – 00:09:32) (on Disc)
               (00:06:20 – 00:08:30) Artificial Intelligences take over bioneural fields of humans,
               animals, and entire groups of people

  EXHIBIT BU – DW Threats and Switch -YouTube video titled: “Threats, Intimidation & New Age
               MADNESS - Warped Podcast #3” posted to Warped Podcast YouTube channel,

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                December 13, 2019. (00:09:51 – 00:20:06) Defendant associate, dream
                researcher David Wilcock, literal crying about death threats and afraid of
                narcohypnosis in 2011, then in 2019 goes on Edge of Wonder YouTube Channel
                and says he has never been threatened like that. (on Disc)

  Exhibit BV – Cyrus Parsa A.I. Civil Action, US District Court for the Southern District of
               California, Case 3:2019cv02407 - misuse of A.I. neuronetworks and codes altering
               human biochemistry, human organ trafficking, and more



  filed March 19, 2020

  EXHIBIT BZ – Federal Court Docket (8pgs)

  EXHIBIT CA – Emailed VYW and ACM June 2018 to July 2018 (1pg)

  EXHIBIT CB - Liz Lorie Fake Law Firm Address December 2019 through January 2020 and CG
               email noticed, December 31, 2019 of certified USPS mailing to Ms. Lorie and
               copy of mailing sent to Ms. Lorie and USPS tracking delivery failure (14 pgs)

  EXHIBIT CC – Doxxing and Defamation – YouTube CG March 2, 2020 lawsuit threat (1pg)

  EXHIBIT CD –Audio and Video Disc of this OBJECTION filing (Disc)

  EXHIBIT CE – Case 18CV50 Timeline Key Events (3 pgs)

  EXHIBIT CF – USPS Tracking of PLAC Served Contracts to CG and VYW (15 pgs)

  EXHIBIT CG – 3rd Malicious stalking Prosecution Case email dated March 13, 2020 again
               failure by CG to declare his own Protection Order with Darling Intl(17pg)




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